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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,


         Plaintiff,


vs.                                                                         NO. 19-CR-3113-JB


ROBERT PADILLA, a.k.a. “Fat Head,”
ROSE ANN ROMERO,
JOHNATHAN VIGIL, a.k.a. “Lil John,”
ROBERT HOCKMAN, a.k.a. “Tony,”
MARCOS RUIZ, a.k.a. “Mark,”
LUIS SANCHEZ, a.k.a. “Payaso,”
ASHLEY ROMERO,
TOMAS SANCHEZ, a.k.a. “T.J.,”
AMANDA SILVA,
SERGIO VALDEZ,
GENEVIVE ATENCIO, and
JANAYA ATENCIO,
         Defendant.




STIPULATED MOTION FOR EXTENSION OF TIME TO FILE RULE 16 DISCOVERY
       MOTIONS AND TO CONTINUE SCHEDULED MOTION HEARING

         Defendant Luis Sanchez respectfully moves the Court to extend the deadline to file Rule

16 Pretrial motions to Thursday, July 9, 2020 and continue the Motion hearing set for July 2, 2020.

In support of the Motion, Mr. Garduno states:


      1. The original scheduling order required Rule 16 discovery orders to be filed by May 29,

         2020, with response motions by June 12 and Replies by June 26. (Doc. 204). These motions

         are scheduled to be heard on July 2, 2020.
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2. Counsel for the defense need more time to review discovery, time to allow defendants in

   custody to get their discovery computers, as well as more time for defense teams to

   investigate after the State shelter in place restrictions are lifted.

3. Since the State’s shelter in place orders counsel have had less access to their clients for

   face-to-face meetings to review and discuss discovery.

4. Counsel for this case are in the process of getting a final hard drive with all the discovery

   in this case. Worldwide travel restrictions and shipping delays have made it difficult for

   the discovery counsel to purchase the drives to send to each defense team with all case

   discovery.

5. Counsel has worked diligently to identify those areas of the case which would be properly

   addressed through a Rule 16 pretrial motion.

6. Extending the motion deadlines and a continuance of the motion hearing can be completed

   without any delay to the case or the future scheduling order deadlines.

7. All Defendants as well as the Government stipulate to the relief requested in this motion.


   WHEREFORE, Luis Sanchez respectfully requests that the Court extend the deadline for

filing its Rule P 16 pretrial motions as requested above and to continue the Motion hearing

till the second week of August.


                                            Respectfully submitted:
                                            __/s/ Diego R. Esquibel________________
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                                            Albuquerque, NM 87112
                                            (505) 275-3200
                                            (505) 275-3837 fax
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       I HEREBY CERTIFY that on the 12 day of May, 2020, I filed the foregoing electronically
through the CM/ECF filing system, which caused all counsel to be served by electronic means.



        /s/ Diego R. Esquibel
            Diego R. Esquibel
